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IN 'I‘HE UNITED S'I'A'I'ES DIS'I‘RIC'I‘ COUR'I' HLED BY___ nev
FOR 'I'HE wES'I‘ERN DISTRICT OF TENNESSEE ` '
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UNITED sTATES OF AMERICA CLEH(,US p].]rQX-TCOUHT
l I--`\F H"` HP}US
Plaintiff, t
v. CR. NO. 04-20260-Ma
SHELLY PERKINS,
Defendant.

 

ORDER TO SU'R.'RENDER

 

The defendant, Shelly Perkins, having been sentenced in the
above case to the custody of the Bureau of Prisons and having been
granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to
Federal Correctional Institution Marianna, 3625 FCI Road, Marianna,
Florida 32446, no later than 2:00 p.m. on Wbdnesday, August 31,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order
the defendant shall report immediately to the Office of the Clerk,
Federal Office Building, 167 N. Main Street, Room 242, Memphis,
Tennessee 38103 to acknowledge by signature receipt of a copy of
this Order and that the defendant will report as ordered to the
facility named above.

ENTERED this the iglA\day of August, 2005.

..h\s document entered on me d sAMUEL H. MAYS, JR.
wth ama 55 annum wm Fnch on UNITED s'I'ATEs DISTRICT JUDGE

 

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(UQ-ZDZED¢M&)

ACIQ\TOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

Clerk/Deputy Clerk Defendant

lsTRIC COURT - WESTERN D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 2:04-CR-20260 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
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Ste. 200

Memphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

